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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
WILFREDO TORRES,                                                   :
                                                                   :
                              Plaintiff,                           :         ORDER
                                                                   :
          -against-                                                :   16- CV-2362 (RA) (KNF)
                                                                   :
CITY OF NEW YORK, et al.,                                          :
                                        Defendants.                :
-----------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         Wilfredo Torres (“Torres”), proceeding pro se, filed a document styled “Motion to

Impose Sanctions Against the Defendants.” Docket Entry No. 435. Through the document,

Torres alleges that “solid evidence of the involvement of the U.S. Central Intelligence Agency

(“CIA”) [exists] in this case” and counsel to the defendants in this action as well as counsel to

former defendants in this action “denied it to the Court, thus preventing me from prosecuting the

case.” Therefore, Torres requests that “penalties be imposed” against the defendants and former

defendants he identifies in the document. The defendants in this action and the former

defendants whom Torres identified in Docket Entry No. 435 oppose Torres’s request.

         The Court observed that Torres failed to comply with Local Civil Rule 7.1 of this court,

which sets forth the procedural requirements for making a motion. Therefore, Torres’s motion is

procedurally deficient. This militates against granting the motion. Furthermore, Torres failed

to: 1) make citation precisely to the evidence of CIA involvement in this case to which he

makes reference; 2) identify when and the manner in which this evidence was denied to the

Court by adversary counsel; and 3) describe how he was prevented “from prosecuting the case.”

The failure by Torres to provide this information also militates against granting the motion. This

is so because the absence such information prevents the Court from assessing the verisimilitude
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of Torres’s allegations. Under the circumstances, the Court finds that no basis exists for granting

Torres’s request that penalties be imposed on the defendants and former defendants to the action

whose conduct the motion purports to address. Accordingly, Torres’s motion, Docket Entry No.

435, is denied.

The Clerk of Court is directed to mail a copy of this order to the plaintiff.



Dated: New York, New York                            SO ORDERED:
       January 3, 2021




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